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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

In re:                                                        Case No.: 16-26362-AJC

Richard Fuad Elamin,                                          Chapter 13

         Debtor.
                           /

                        MOTION TO MODIFY PAYMENT PLAN AND
                     CERTIFICATE OF SERVICE OF NOTICE OF HEARING

         COMES NOW the Debtor, Richard Fuad Elamin, by and through undersigned counsel and

moves this Honorable Court for an Order Granting Modification of the Debtor’s Chapter 13 Plan,

and as grounds therefore would show:

         1.     The Debtor filed the instant bankruptcy on December 9, 2016.

         2.     The Debtor’s Chapter 13 Plan was confirmed by order of this Court on or about

                June 20, 2017.

         3.     The Debtor seeks to modify the Chapter 13 Plan to provide for the Notice of

                Mortgage Payment Change filed by the Creditor on July 31, 2019 and July 27, 2020

                and for additional attorney’s fees.

         WHEREFORE, for the above stated reason, Debtor prays this Honorable Court grant this

Motion to Modify Payment Plan and grant such other and further relief as this Court may deem just

and equitable under the circumstances.

                                   CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the foregoing, has been filed this 18th
day of September, 2020, a copy of the foregoing and the accompanying Notice of Hearing is
being simultaneously mailed to Nancy K. Neidich, via NEF, all creditors in the attached mailing
list and Debtor in the instant case via first class mail.


                                                       /s/Gianny Blanco
                                                      FREIRE & GONZALEZ, P.A.
                                                      Attorneys for Debtor
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Label Matrix for local noticing                      Dade County Federal Credit Union                     Nissan Motor Acceptance
113C-1                                               c/o Robert D Dunn, Esq                               PO BOX 660366
Case 16-26362-AJC                                    PO Box 160147                                        Dallas, TX 75266-0366
Southern District of Florida                         Miami, FL 33116-0147
Miami
Fri Sep 18 12:05:41 EDT 2020
PRA Receivables Management, LLC                      U.S. Bank National Association                       CBE Group
PO Box 41021                                         c/o Gladstone Law Group PA                           131 Tower Park Dr Ste 100
Norfolk, VA 23541-1021                               1515 S Federal Hwy #100                              POB: 900
                                                     Boca Raton, FL 33432-7404                            Waterloo , IA 50704- 0900


Cavalry Portfolio Servoce                            Credit One Bank                                      Dade County FCU
500 Summit Lake Drive                                POB: 98873                                           1500 NW 107th Ave
Valhalla , NY 10595-2322                             Las Vegas , NV 89193-8873                            Doral , FL 33172-2706



Doral Imaging                                        ERC Direct TV Inc                                    Gladstone Law Group
2760 Sw 97th Ave                                     8014 Bayberry Rd                                     1515 S Federal Hwy #100
Ste B101                                             Jacksonville, FL 32256- 7412                         Boca Raton , FL 33432-7404
Miami , FL 33165-2685


Jareds Jewelers                                      Midland Funding                                      (p)NISSAN MOTOR ACCEPTANCE CORPORATION
375 Ghent Rd                                         8875 Aero Dr Ste 200                                 LOSS RECOVERY
Fairlawn, OH 44333-4601                              San Diego , CA 92123-2255                            PO BOX 660366
                                                                                                          DALLAS TX 75266-0366


Nissan Motor Acceptance                              Office of the US Trustee                             (p)PORTFOLIO RECOVERY ASSOCIATES LLC
POB : 6600366                                        51 S.W. 1st Ave.                                     PO BOX 41067
Dallas , TX 75266- 0366                              Suite 1204                                           NORFOLK VA 23541-1067
                                                     Miami, FL 33130-1614


Quantum3 Group LLC as agent for                      Select Portfolio Servicing                           Summer Bay Resort
Sadino Funding LLC                                   3217 S Decker Lake Drive                             25 Town Center Blvd
PO Box 788                                           Salt Lake City, UT 84119-3284                        Clermont, FL 34714-4836
Kirkland, WA 98083-0788


U.S. BANK NATIONAL ASSOCIATION                       Gianny Blanco                                        Laila S. Gonzalez
c/o Select Portfolio Servicing, Inc.                 10691 N. Kendall Drive                               10691 N. Kendall Drive
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P.O. Box 65450                                       Miami, FL 33176-1595                                 Miami, FL 33176-1595
Salt Lake City, UT 84165-0450

Nancy K. Neidich                                     Richard Fuad Elamin
www.ch13miami.com                                    15286 SW 178 Terrace
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Miramar, FL 33027-9806




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
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Nissan Acceptance Corp                               Portfolio Recovery Associates
7900 Ridgepoint Dr                                   120 Corporate Blvd Ste 100
Irving, TX 75063 - 3153                              Norfolk , VA 23502




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)U.S. Bank National Association, as trustee        (u)Miami                                             End of Label Matrix
                                                                                                          Mailable recipients   25
                                                                                                          Bypassed recipients    2
                                                                                                          Total                 27
